Case 1:15-cv-06119-AJN-JLC Document 373-6 Filed 06/19/17 Page 1 of 24




            Exhibit 6
     Case 1:15-cv-06119-AJN-JLC Document 373-6 Filed 06/19/17 Page 2 of 24



                                                                   Page 1

1
2        UNITED STATES DISTRICT COURT
         SOUTHERN DISTRICT OF NEW YORK
3        Case No. 1:15-cv-06119
4        ----------------------------------------x
5        STEVEN E. GREER, MD,
6                                        Plaintiff,
7                     - against -
8        DENNIS MEHIEL, ROBERT SERPICO, THE BATTERY
         PARK CITY AUTHORITY, HOWARD MILSTEIN,
9        STEVEN ROSSI, JANET MARTIN, MILFORD
         MANAGEMENT, AND MARINERS COVE SITE B
10       ASSOCIATES,
11
                                         Defendants.
12
         ----------------------------------------x
13
                                     April 25, 2017
14                                   2:02 p.m.
15
16                             CONFIDENTIAL
17                  DEPOSITION of STEPHEN ROSSI, one of
18      the Defendants herein, held at the offices
19      of Rosenberg & Estis, P.C., located at 733
20      Third Avenue, New York, New York 10017,
21      before Anthony Giarro, a Registered
22      Professional Reporter and a Notary Public
23      of the State of New York.
24
25

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                   516-608-2400
     Case 1:15-cv-06119-AJN-JLC Document 373-6 Filed 06/19/17 Page 3 of 24



                                                                   Page 2

1            STEPHEN ROSSI -- CONFIDENTIAL
2        A P P E A R A N C E S :
3
4        STEVEN E. GREER, MD
          Pro Se Plaintiff
5         4674 Tatersall Court
          Columbus, Ohio 43230
6         (via telephone)
7
8        ROSENBERG & ESTIS, P.C.
          Attorneys for Defendants
9         Mariners Cove Site B Associates, Milford
          Management, Howard Milstein, Janet Martin
10        and Steven Rossi
          733 Third Avenue
11        New York, New York 10017
12       BY:  DEBORAH E. RIEGEL, ESQ.
13
14
15       SHER TREMONTE, L.L.P.
          Attorneys for Defendants
16        Battery Park City Authority and Robert
          Serpico
17        90 Broad Street
          New York, New York 10004
18
         BY:        JUSTIN J. GUNNELL, ESQ.
19                  MICHAEL TREMONTE, ESQ.
                    (via telephone)
20
21
22
23
24       ALSO PRESENT:
25            ABBY GOLDENBERG, ESQ.

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                   516-608-2400
     Case 1:15-cv-06119-AJN-JLC Document 373-6 Filed 06/19/17 Page 4 of 24



                                                                   Page 3

1                   STEPHEN ROSSI -- CONFIDENTIAL
2                         S T I P U L A T I O N S
3
4                   IT IS HEREBY STIPULATED AND AGREED,
5       by and among counsel for the respective
6       parties hereto, that the filing, sealing
7       and certification of the within deposition
8       shall be and the same are hereby waived;
9                   IT IS FURTHER STIPULATED AND AGREED
10      that all objections, except as to form of
11      the question, shall be reserved to the time
12      of the trial;
13                  IT IS FURTHER STIPULATED AND AGREED
14      that the within deposition may be signed
15      before any Notary Public with the same
16      force and effect as if signed and sworn to
17      before the Court.
18                    *       *          *
19
20
21
22
23
24
25

                                  Veritext Legal Solutions
     212-267-6868                   www.veritext.com                 516-608-2400
     Case 1:15-cv-06119-AJN-JLC Document 373-6 Filed 06/19/17 Page 5 of 24



                                                                   Page 6

1                   STEPHEN ROSSI -- CONFIDENTIAL
2               A          I believe so.
3               Q          Have you returned to work
4       yet at Milford Management?
5                          MS. RIEGEL:             Objection.      And
6              I'm directing him not to answer.                    His
7              medical condition is not at issue.
8                          DR. GREER:            I didn't mention
9              the word "medical" at all.
10              Q          Mr. Rossi, are you working
11      now at Milford Management?
12              A          Yes.
13              Q          What do you do there at
14      Milford Management?              Just describe your
15      job?
16              A          I'm a vice president and
17      director of management services.                     And I
18      oversee 19 properties, some of them owned
19      by the Milstein family, others are
20      condominiums; and also, we do third-party
21      management.
22              Q          And what is Mariners Cove
23      Site B Associates?
24              A          They are the sponsor for
25      Liberty Court.          They were the developers

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                   516-608-2400
     Case 1:15-cv-06119-AJN-JLC Document 373-6 Filed 06/19/17 Page 6 of 24



                                                                 Page 11

1                   STEPHEN ROSSI -- CONFIDENTIAL
2              understand what you're asking.
3                          DR. GREER:            Sure.
4               Q          What I'm trying to get at:
5       Was I a renter at 35F at 200 Rector Place
6       and for how long?
7               A          Yes.      I believe the lease
8       may go back to 2002, 2003, the initial
9       lease.
10              Q          Are you aware that someone
11      at Milford Management or Mariners Cove
12      decided to not renew my lease in early
13      2014?        Are you aware of that?
14              A          Yes.
15              Q          Who at Milford Management or
16      Mariners Cove personally made that
17      decision?
18              A          I did.
19              Q          Did anyone instruct you to
20      make that decision or did you come up
21      with it on your own?
22              A          No one instructed me to make
23      that decision.
24              Q          In January of 2014, do you
25      recall me being in your office at 99

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                   516-608-2400
     Case 1:15-cv-06119-AJN-JLC Document 373-6 Filed 06/19/17 Page 7 of 24



                                                                    Page 12

1                   STEPHEN ROSSI -- CONFIDENTIAL
2       Battery, shaking your hand on friendly
3       terms and discussing a matter that
4       related to a lawsuit; one of the tenants
5       in your building was suing over whether
6       they could have a dog or not?                       Do you
7       recall us talking about that in
8       January 2014?
9               A          Yes.
10              Q          At what point after that
11      conversation?          What was the date, to the
12      best of your recollection, that you
13      decided not renew any lease?                       Was it
14      January, February?             When was it?
15              A          My recollection would have
16      been March; could have been February;
17      either February or March.
18              Q          Did you instruct Clive
19      Spagnoli to send me a letter informing me
20      that the lease would not be renewed?
21              A          Yes.
22              Q          Did you give any explanation
23      to Clive Spagnoli as to why you were
24      instructing him to do that?
25              A          I do not recall.

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
     Case 1:15-cv-06119-AJN-JLC Document 373-6 Filed 06/19/17 Page 8 of 24



                                                                 Page 13

1                   STEPHEN ROSSI -- CONFIDENTIAL
2               Q          Who is Robert Serpico?
3               A          I believe his last position
4       was CFO, chief financial officer, of
5       Battery Park City Authority.
6               Q          Had you ever met Mr. Serpico
7       in person?
8               A          Yes.
9               Q          For how many years or
10      decades have you known Mr. Serpico?
11              A          I've known Bob probably
12      since 1986, '87.
13              Q          Do you meet regularly, once
14      a month, for example, to discuss any
15      business matters?
16              A          No.
17              Q          Since January of 2013, so
18      the last few years, have you ever met
19      Robert Serpico at a coffee shop or a
20      restaurant in the neighborhood?
21              A          Yes.
22              Q          What was the purpose of that
23      meeting?        Was it to discuss anything
24      about Steven Greer?
25              A          No.

                                 Veritext Legal Solutions
     212-267-6868                  www.veritext.com                  516-608-2400
     Case 1:15-cv-06119-AJN-JLC Document 373-6 Filed 06/19/17 Page 9 of 24



                                                                 Page 14

1                   STEPHEN ROSSI -- CONFIDENTIAL
2               Q          Was it official business
3       dealing with taxes or pilot fees?
4               A          I would say it was a
5       combination of the relationship I had
6       with Bob on a personal basis and also
7       trying to navigate some business issues.
8               Q          Why would you prefer to meet
9       at a coffee shop instead of the BPCA
10      offices or your office?
11              A          No reason.            It was
12      convenient.
13              Q          Did Robert Serpico ever
14      e-mail you or call you sometime in the
15      year 2013, asking you to investigate the
16      status of Steven Greer's rental apartment
17      lease, whether I was late in rent or any
18      other matters regarding me?
19              A          I don't believe so.
20              Q          Can you be more certain?
21      Yes or no?
22                         MS. RIEGEL:             Objection.      He
23             answered your question, Dr. Greer.
24                         DR. GREER:            I need a yes or
25             no.

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                   516-608-2400
     Case 1:15-cv-06119-AJN-JLC Document 373-6 Filed 06/19/17 Page 10 of 24



                                                                  Page 18

1                   STEPHEN ROSSI -- CONFIDENTIAL
2       Steven Greer?
3                           MS. RIEGEL:             Objection.      You
4              can answer it if you recall.
5               A           I believe there was an
6       e-mail that you were copied on.
7               Q           Has Janet Martin ever told
8       other employees at Emigrant Bank or
9       Milford Management that I was unstable,
10      crazy or a scary guy?
11                          MS. RIEGEL:             Objection;
12             beyond the scope of permissible
13             discovery.        This claim has been
14             dismissed.        And I'm directing the
15             witness not to answer.
16              Q           Who is Lorraine Doyle?
17              A           Property manager.
18              Q           At Milford Management?
19              A           Yes.
20              Q           Is she still at Milford
21      Management?
22              A           She retired.
23              Q           Before she retired -- when
24      did she retire?            What year did she
25      retire?

                                 Veritext Legal Solutions
     212-267-6868                  www.veritext.com                   516-608-2400
     Case 1:15-cv-06119-AJN-JLC Document 373-6 Filed 06/19/17 Page 11 of 24



                                                                  Page 19

1                   STEPHEN ROSSI -- CONFIDENTIAL
2               A           I believe it's 2015.               Or it
3       might have been '14 --
4               Q           Before her retirement,
5       describe her job role.                  And did she
6       report to you?
7                           MS. RIEGEL:             Dr. Greer, you
8              cut Mr. Rossi off.               And he was
9              finishing his answer.
10                          THE WITNESS:              Yeah.
11              A           Just to be clear, she either
12      retired May of 2014 or May of 2015.
13              Q           Did she report to you and
14      what was her job role?
15              A           She reported to me.               And she
16      managed some of the properties in Battery
17      Park City.
18              Q           Did Lorraine Doyle play any
19      role in the decision that you made to not
20      renew my apartment lease?
21              A           Yes.
22              Q           That was a "yes"?
23              A           That was a "yes."
24              Q           Explain how.              What role did
25      she play?

                                 Veritext Legal Solutions
     212-267-6868                  www.veritext.com                   516-608-2400
     Case 1:15-cv-06119-AJN-JLC Document 373-6 Filed 06/19/17 Page 12 of 24



                                                                  Page 20

1                   STEPHEN ROSSI -- CONFIDENTIAL
2               A           It was based on a review of
3       all the facts, surrounding your occupancy
4       of Apartment 35F.
5               Q           I need you to be specific.
6                           What facts are you referring
7       to?
8               A           It would have been the
9       rental history.            We discussed the
10      employees that were coming forward with
11      issues regarding yourself and the
12      resident complaints from not only the
13      residents, some of the residents in
14      Liberty Court but also some of the
15      adjacent apartments.
16              Q           What do you mean by adjacent
17      apartments?         A totally different building
18      or what?
19              A           No.      The adjacent apartments
20      to 35F would have included 35G, 35E are
21      two that come to mind.
22              Q           Did Robert Serpico and
23      Lorraine Doyle ever meet in person, to
24      your knowledge?
25                          MS. RIEGEL:              Objection.     You

                                  Veritext Legal Solutions
     212-267-6868                   www.veritext.com                  516-608-2400
     Case 1:15-cv-06119-AJN-JLC Document 373-6 Filed 06/19/17 Page 13 of 24



                                                                     Page 27

1                   STEPHEN ROSSI -- CONFIDENTIAL
2               Q           I believe you filed
3       affidavits yourself and other writings by
4       your lawyers, claiming that my lease was
5       not renewed, essentially, because I was a
6       troublemaker or bothering or harassing
7       other tenants.           Can you cite some
8       examples?
9                           MS. RIEGEL:             Objection.        If
10             you have documents you want to show
11             him, I'm happy to show them to him,
12             otherwise your characterization of
13             his e-mail -- of his affidavits is
14             really not appropriate, Dr. Greer.
15              Q           Mr. Rossi, can you cite any
16      examples of me harassing or bothering
17      other tenants at 200 Rector Place?
18                          MS. RIEGEL:             Objection.        You
19             can answer.
20              A           Yes.
21              Q           What were they?                 Please
22      elaborate.
23              A           The resident, the owner at
24      35E, reached out to us to complain about
25      yourself with music that was blaring that

                                 Veritext Legal Solutions
     212-267-6868                  www.veritext.com                    516-608-2400
     Case 1:15-cv-06119-AJN-JLC Document 373-6 Filed 06/19/17 Page 14 of 24



                                                                  Page 28

1                   STEPHEN ROSSI -- CONFIDENTIAL
2       prevented her from sleeping at three
3       o'clock in the morning.                   I have similar
4       complaints from Kiyomi Kawaguchi and
5       Luigi, her partner from 35G of a similar
6       nature.
7               Q           I was 35F?
8               A           Right.
9               Q           When you walk out my door in
10      the hallway, the most adjacent apartment,
11      which one is that?              E or G?
12              A           If we're looking at the
13      hallway and your door is on the right,
14      35G would be to the left.
15              Q           Is that the three-bedroom
16      unit?
17              A           That would be the E, 35E on
18      the other hallway.              And the master
19      bedroom backs up to your living room.
20              Q           Okay.
21                          What year or months?               When
22      did these complaints take place, happen?
23              A           Probably late 2013, 2014.
24      Some of them were initiated with phone
25      calls.        And later on, we received

                                 Veritext Legal Solutions
     212-267-6868                  www.veritext.com                   516-608-2400
     Case 1:15-cv-06119-AJN-JLC Document 373-6 Filed 06/19/17 Page 15 of 24



                                                                  Page 29

1                   STEPHEN ROSSI -- CONFIDENTIAL
2       e-mails.        And also, the resident of 35E
3       came to the offices.
4               Q           I don't recall receiving any
5       communications from your offices, from
6       Gus, from you, anyone relaying these
7       complaints to me.
8                           Did you produce any
9       documents?
10              A           We had the -- the overnight
11      concierge visited you.
12              Q           When was that?
13              A           I don't have any dates,
14      exact dates.
15              Q           Who was the overnight
16      concierge?
17              A           Michael Mutos, Jose Rivera.
18      And there was probably a third.                     We have
19      three people in the lobby on the
20      overnight.        I don't recall.
21              Q           Which ones supposedly came
22      up to the hallway, up to 35F and
23      personally visited me?
24              A           Michael Mutos.
25              Q           So that's one issue you

                                 Veritext Legal Solutions
     212-267-6868                  www.veritext.com                   516-608-2400
     Case 1:15-cv-06119-AJN-JLC Document 373-6 Filed 06/19/17 Page 16 of 24



                                                                  Page 30

1                   STEPHEN ROSSI -- CONFIDENTIAL
2       think happened in 2013.
3                           Did you send me any sort of
4       letter or e-mail or anything?
5               A           It wouldn't have come from
6       my direction.          It would be from the
7       property manager.             So I'm unable to
8       answer that.
9                           MS. RIEGEL:             And, Dr. Greer,
10             I'm going to ask you to please not
11             recharacterize the testimony since
12             Mr. Rossi testified it was either '13
13             or '14.
14                          DR. GREER:            Okay.
15              Q           35G, explain how many
16      apartments away that is from 35F and
17      elaborate on that complaint.
18              A           I've known Kiyomi Kawaguchi.
19      She's an original purchaser from that
20      apartment from back in the late '80s.
21      And she works for UNICEF.                     And she
22      travels.        So she's not in New York 12
23      months a year.
24                          But when she comes to New
25      York, she's here for two or three months

                                 Veritext Legal Solutions
     212-267-6868                  www.veritext.com                   516-608-2400
     Case 1:15-cv-06119-AJN-JLC Document 373-6 Filed 06/19/17 Page 17 of 24



                                                                  Page 31

1                   STEPHEN ROSSI -- CONFIDENTIAL
2       at a time.        And same complaints, you
3       know:        Stereo three o'clock, two o'clock
4       morning, five o'clock in the morning.
5       It's very disruptive to their sleep
6       patterns.
7               Q           Anyone from Milford
8       Management or Mariners Cove or any of
9       your companies, did anyone notify me of a
10      complaint from 35G?
11              A           I'm not able to answer that.
12              Q           You mentioned two noise
13      complaints.
14                          The 35G noise complaint,
15      what years did that take place, what
16      month?
17              A           '13 to '14, 2013, 2014.
18              Q           So we discussed two
19      incidents.
20                          What else do you know?                Any
21      other complaints about me?
22              A           You know, not to me directly
23      but to Lorraine.            I don't have any
24      others.
25              Q           Any of these tenants who

                                 Veritext Legal Solutions
     212-267-6868                  www.veritext.com                   516-608-2400
     Case 1:15-cv-06119-AJN-JLC Document 373-6 Filed 06/19/17 Page 18 of 24



                                                                  Page 32

1                   STEPHEN ROSSI -- CONFIDENTIAL
2       supposedly made complaints about me, will
3       they be a witness for you at the trial?
4                           MS. RIEGEL:             Objection.
5              He's not answering that question,
6              Dr. Greer.        When you are entitled to
7              know who our trial witnesses are,
8              you'll get them.
9               A           Yeah.
10                          Just to go back on that last
11      question, as I had mentioned previously,
12      we had various employees come forward on
13      issues that they were having with you on
14      the overnight shift.
15              Q           Let's take that one at a
16      time.
17                          Which employees do you want
18      to talk about first?
19              A           Michael Mutos.
20              Q           You're claiming Michael
21      Mutos had a complaint about me.
22                          What was it?
23              A           You were belligerent, just
24      instigating -- trying to instigate a
25      reaction from Michael.

                                 Veritext Legal Solutions
     212-267-6868                  www.veritext.com                   516-608-2400
     Case 1:15-cv-06119-AJN-JLC Document 373-6 Filed 06/19/17 Page 19 of 24



                                                                  Page 35

1                   STEPHEN ROSSI -- CONFIDENTIAL
2                           MS. RIEGEL:             Objection.      You
3              can answer if you can.
4               A           I would not be able to
5       answer that definitively.
6               Q           Is it the policy when a
7       doorman downstairs receives a noise
8       complaint to personally come up to the
9       apartment rather than call?
10                          MS. RIEGEL:             Objection.
11              A           They would call first before
12      coming up to the apartment.
13              Q           Did Mr. Mutos call me before
14      he came up to my apartment?
15                          MS. RIEGEL:             Objection.
16              A           Don't know.
17              Q           So that's one employee.                 You
18      said there were other employees who were
19      complaining about me.
20                          Who do you want to talk
21      about next?
22              A           We have a letter from the
23      union where Jose Rivera filed a
24      harassment complaint against you.
25              Q           This complaint was brought

                                 Veritext Legal Solutions
     212-267-6868                  www.veritext.com                   516-608-2400
     Case 1:15-cv-06119-AJN-JLC Document 373-6 Filed 06/19/17 Page 20 of 24



                                                                   Page 38

1                   STEPHEN ROSSI -- CONFIDENTIAL
2              discovery.        It's irrelevant.                And I'm
3              directing the witness not to answer.
4              You can take it up with the judge.
5                           DR. GREER:            Mr. Rossi is the
6              one who brought this up.                     By
7              definition, it is the opposite of
8              irrelevant; okay?              So you're not
9              going to answer.             Okay.
10              Q           So Jose Rivera, Mr. Mutos.
11                          What other employees
12      complained about me?
13              A           Rudolfo Rodriguez.
14              Q           That name doesn't even ring
15      a bell to me.
16                          Who is Rudolfo Rodriguez?
17              A           He would have been working
18      on the overnight shift in Liberty Court
19      Condominium.
20              Q           Can you describe what he
21      looks like?
22              A           I can't.
23              Q           What complaints -- what was
24      the nature of the complaint about me that
25      he made?

                                 Veritext Legal Solutions
     212-267-6868                  www.veritext.com                   516-608-2400
     Case 1:15-cv-06119-AJN-JLC Document 373-6 Filed 06/19/17 Page 21 of 24



                                                                  Page 39

1                   STEPHEN ROSSI -- CONFIDENTIAL
2               A           Again, it was the
3       conversations where you would try to
4       instigate a reaction from an employee to
5       set them off.
6               Q           When did this incident
7       allegedly happen?
8               A           I don't have any exact date.
9               Q           What year?
10              A           I wouldn't be able to give
11      you an exact date or year.
12              Q           Was it before or after you
13      initiated housing court litigation with
14      me?
15              A           Unable to answer.
16              Q           Did you ever send me any
17      e-mail or letter about these complaints?
18              A           Again, it would not have
19      come from my office.
20              Q           Have you or any of your
21      companies ever fired a doorman working at
22      200 Rector Place after I reported
23      egregious misconduct on the part of the
24      doorman?
25                          MS. RIEGEL:             Objection;

                                 Veritext Legal Solutions
     212-267-6868                  www.veritext.com                   516-608-2400
     Case 1:15-cv-06119-AJN-JLC Document 373-6 Filed 06/19/17 Page 22 of 24



                                                                  Page 40

1                   STEPHEN ROSSI -- CONFIDENTIAL
2              beyond the scope of permissible
3              discovery.        And I'm directing the
4              witness not to answer.
5               Q           Do you recall a complaint I
6       made with city agencies, the HPD, the
7       fire department and to Gus and to you
8       that Jose Rivera refused to call 911 when
9       there was a major fire in the building
10      with smoke going all the way up to my
11      apartment on 35 and Jose refused to call
12      the fire department; instead, he tried to
13      investigate it himself?                   Are you aware of
14      my complaint about that?
15                          MS. RIEGEL:             Objection;
16             beyond the scope of permissible
17             discovery; objection to form;
18             objection to relevance.                      I'm
19             directing him not to answer.
20              Q           You have argued that I was
21      essentially chronically late in paying my
22      rents since at least 2012.                      Would you
23      agree with that?
24              A           Yes.
25              Q           Why then did you renew my

                                 Veritext Legal Solutions
     212-267-6868                  www.veritext.com                   516-608-2400
     Case 1:15-cv-06119-AJN-JLC Document 373-6 Filed 06/19/17 Page 23 of 24



                                                                  Page 41

1                   STEPHEN ROSSI -- CONFIDENTIAL
2       lease as recently as May of 2013?
3               A           That would have been based
4       on probably a conversation that you had
5       with Lorraine Doyle, that you would bring
6       your account current.
7               Q           Are you aware of the
8       documents that I produced that are
9       scanned check images from my bank to your
10      Milford Management with the 1st of the
11      month stamped on them from the Year 2013?
12      And then I believe your lawyers found
13      checks older than that.                   Are you aware of
14      the scanned check images of mine?
15                          MS. RIEGEL:             Objection to
16             form.     Can you rephrase that?                For
17             the life of me, I don't understand
18             it, nor does Mr. Rossi.
19                          DR. GREER:            Sure.
20              Q           Did I, Steven Greer, pay my
21      rent with checks for all of the months
22      for the year 2013?              Did I submit to you
23      checks that had the 1st of the month
24      dated on them?
25              A           I would not know.

                                 Veritext Legal Solutions
     212-267-6868                  www.veritext.com                   516-608-2400
     Case 1:15-cv-06119-AJN-JLC Document 373-6 Filed 06/19/17 Page 24 of 24



                                                                  Page 42

1                   STEPHEN ROSSI -- CONFIDENTIAL
2               Q           Then how do you know I was
3       late in rent?
4               A           I reviewed our billing
5       system which has the charges and the
6       collections and the arrearage.                      We have
7       an internal system.
8               Q           Well, I was going to ask you
9       about that.         But let's do it now.
10                          Describe that internal
11      system.        Is it a professional software or
12      is it a program?            Describe that
13      accounting system.
14              A           Yeah.       It's a professional
15      accounting system.              It's not in-house.
16      And we buy the software.                    And we have
17      access to it.
18              Q           I have that planned a few
19      questions down the road.
20                          If I was late in rent, why
21      did you renew my lease in 2010?
22              A           I don't know.
23              Q           I'm just going to ask four
24      more like this.
25                          If I was late in rent, why

                                 Veritext Legal Solutions
     212-267-6868                  www.veritext.com                   516-608-2400
